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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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11
         LISA J. H., 1                           Case No. CV 19-07462-RAO
12
                           Plaintiff,
13
               v.                                JUDGMENT
14
         ANDREW SAUL, Commissioner of
15       Social Security,
                          Defendant.
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17
18            In accordance with the Memorandum Opinion and Order filed concurrently
19   herewith,
20            IT IS ORDERED AND ADJUDGED that the decision of the Commissioner
21   of Social Security is AFFIRMED.
22
23   DATED:          June 30, 2020
24                                        ROZELLA A. OLIVER
                                          UNITED STATES MAGISTRATE JUDGE
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27    Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B)
     and the recommendation of the Committee on Court Administration and Case
28   Management of the Judicial Conference of the United States.
